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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

SAMMIA PRATT, et al.,                     )
                                          )
       Plaintiffs,                        )
                                          )
       v.                                 )                  Case No. 1:20-cv-1501-TNM
                                          )
MIGUEL CARDONA, Secretary of the          )
United Department of Education, et al.,   )
                                          )
       Defendants.                        )
__________________________________________)

                                   JOINT STATUS REPORT

         Pursuant to this Court’s Minute Order of April 19, 2021, the parties hereby submit this

joint status report. In this action, Plaintiffs challenge the Department of Education’s December

2019 methodology for calculating partial relief for borrowers who have been found to have been

defrauded by higher education institutions, and its application to a class of borrowers. See Am.

Compl. (ECF No. 16). In their request for relief, Plaintiffs ask this Court to vacate the 2019

methodology and relief determinations based upon it. Id. As Defendants have previously indicated,

see, e.g., ECF No. 24, the Department of Education stated in a public press release that “the

Department will ensure that borrowers with approved borrower defense claims to date will have a

streamlined path to receiving full loan discharges” and that “this new approach replaces a

methodology first announced in December 2019.” See Department of Education Announces

Action      to    Streamline     Borrower      Defense      Relief     Process,     available     at

https://www.ed.gov/news/press-releases/department-education-announces-action-streamline-

borrower-defense-relief-process. In the April joint status report, Defendants provided an

expectation that “the process for discharging the loans in full will take approximately six months.”

See ECF No. 25.
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       Defendants remain on track to meet the approximate 6-month timeframe included in the

April joint status report for notifying borrowers of full discharges for any claim previously subject

to the 2019 partial relief methodology. In addition, Defendants are planning to issue a more formal

statement of policy to address loan forgiveness going forward.

       The parties ask to file another status report on or before October 19, 2021, to update the

Court and assess whether litigation should proceed further in this matter. At that time, Defendants

hope to announce that the Department has completed the process for notifying borrowers that their

loans previously subject to the 2019 partial relief methodology are being discharged in full or, at

the very least, that it will complete the process in the very near future.




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Dated: July 19, 2021                Respectfully submitted,


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